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Attorneys for Plaintiffs

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                                     :
                                                     : Civil Action No.: 2:12-249 (JKS)(JBC)
IN RE GENERAL MILLS, INC. KIX CEREAL                 :
LITIGATION                                           : STIPULATION OF DISMISSAL WITH
                                                     : PREJUDICE AND WITHOUT COSTS
                                                     :
                                                     :

       The parties having resolved their dispute by settlement, this matter is dismissed with

prejudice and without costs.

                                   LITE DEPALMA GREENBERG & AFANADOR, LLC

Dated: September 13, 2024           /s/ Bruce D. Greenberg
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